                    Case 3:22-cv-07270-WHO Document 10 Filed 12/28/22 Page 1 of 4




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            10
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            11 OF THE STATE OF CALIFORNIA, COUNTY
               OF SONOMA and SHELLY AVERILL
            12

            13
                                             UNITED STATES DISTRICT COURT
            14
                         NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
            15

            16
                  ARLENE D. JUNIOR,                                Case No. 22-cv-07270-KAW
            17
                                Plaintiff,                         JOINT STIPULATION TO EXTEND THE
            18                                                     TIME TO RESPOND TO THE
                        v.                                         COMPLAINT
            19
               SUPERIOR COURT OF THE STATE OF                      Judge:             Hon. William H. Orrick
            20 CALIFORNIA, COUNTY OF SONOMA,                       Trial Date:        Not Set
               and SHELLY AVERILL,
            21
                          Defendants.
            22

            23

            24          Pursuant to Fed. R. Civ. P. 6(b)(1) and Civil Local Rules 6-1(a) and 6-2, Plaintiff Arlene

            25 D. Junior (“Plaintiff”) and Defendants Superior Court of the State of California, County of

            26 Sonoma and Shelly Averill (collectively “Defendants”), by and through their respective counsel of
            27 record, hereby stipulate as follows:

            28 / / /

  PAUL, PLEVIN,
   SULLIVAN &
                                                                                   Case No. 22-cv-07270-KAW
CONNAUGHTON LLP              JOINT STIPULATION TO EXTEND THE TIME TO RESPOND TO THE COMPLAINT
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             1          WHEREAS, on November 17, 2022, Plaintiff filed a Complaint (Dkt. No. 1);

             2          WHEREAS, Plaintiff and the Defendants have not yet filed any stipulations to extend the

             3 time for the Defendants to move, plead, or otherwise respond to Plaintiff’s Complaint;

             4          WHEREAS, Defendants’ current deadline to move, plead, or otherwise respond to

             5 Plaintiff’s Complaint is December 28, 2022;

             6          WHEREAS, Defendants request until January 12, 2023 to move, plead, or otherwise

             7 respond to Plaintiff’s Complaint;

             8          WHEREAS, the Defendants do not waive any rights, including but not limited to any

             9 rights to challenge jurisdiction, through this Stipulation;

            10          WHEREAS, Plaintiff agrees to the requested extension of time for Defendants’ request

            11 until January 12, 2023 to move, plead, or otherwise respond to Plaintiff’s Complaint;

            12          WHEREAS, this joint request is being made in the interests of judicial economy and in

            13 good faith and will not prejudice any party;

            14          WHEREAS this stipulated extension will not affect any calendared dates in this case;

            15          NOW THEREFORE, Plaintiff and Defendants hereby stipulate, subject to the approval of

            16 this Court, that:

            17          1.      The deadline for Defendants Superior Court of the State of California, County of

            18 Sonoma and Shelly Averill to move, plead, or otherwise respond to the Complaint, shall be

            19 extended to January 12, 2023.

            20          2.      Plaintiff Arlene D. Junior and Defendants Superior Court of the State of

            21 California, County of Sonoma and Shelly Averill reserve all other rights.

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  PAUL, PLEVIN,
   SULLIVAN &                                                2                     Case No. 22-cv-07270-KAW
CONNAUGHTON LLP              JOINT STIPULATION TO EXTEND THE TIME TO RESPOND TO THE COMPLAINT
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             1 Respectfully submitted,

             2 Dated: December 28, 2022              SIEGEL, YEE, BRUNNER & MEHTA

             3
                                                     By:          /s/ Dan Siegel
             4
                                                           DAN SIEGEL
             5                                             Attorneys for Plaintiff
                                                           ARLENE D. JUNIOR
             6

             7
                  Dated: December 28, 2022           PAUL, PLEVIN, SULLIVAN & CONNAUGHTON LLP
             8

             9
                                                     By:          /s/ Corrie J. Klekowski
            10                                             CORRIE J. KLEKOWSKI
                                                           Attorneys for Defendants SUPERIOR COURT OF
            11                                             THE STATE OF CALIFORNIA, COUNTY OF
            12                                             SONOMA and SHELLY AVERILL

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  PAUL, PLEVIN,
   SULLIVAN &                                              3                     Case No. 22-cv-07270-KAW
CONNAUGHTON LLP            JOINT STIPULATION TO EXTEND THE TIME TO RESPOND TO THE COMPLAINT
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             1                                   ATTORNEY ATTESTATION

             2          I, Corrie J. Klekowski, am the ECF User whose ID and password are being used to file

             3 JOINT STIPULATION TO EXTEND THE TIME TO RESPOND TO THE COMPLAINT. In

             4 compliance with N.D. Cal. L.R. 5-1(h)(3), I hereby attest that the concurrence in the filing of the

             5 document has been obtained from the other signatory.

             6
                        By: /s/ Corrie J. Klekowski
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   SULLIVAN &                                               4                     Case No. 22-cv-07270-KAW
CONNAUGHTON LLP             JOINT STIPULATION TO EXTEND THE TIME TO RESPOND TO THE COMPLAINT
